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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                  :     CASE NO.      1:11-cr-00012
                                           :
                     Plaintiff,            :     JUDGE SARA LIOI
                                           :
              v.                           :
                                           :     MAGISTRATE JUDGE
ERNEST HARRIS,                             :     NANCY A. VECCHIARELLI
                                           :
                     Defendant.            :     REPORT & RECOMMENDATION



       Pursuant to General Order 99-49, this matter has been referred to United States

Magistrate Judge Nancy A. Vecchiarelli for purposes of receiving, on consent of the

parties, the defendant’s offer of a plea of guilty, conducting the colloquy prescribed by

Fed. R. Crim. P. 11, causing a verbatim record of the proceedings to be prepared,

referring the matter, if appropriate, for presentence investigation, and submitting a

Magistrate Judge’s Report and Recommendation stating whether the plea should be

accepted and a finding of guilty entered. The following, along with the transcript or

other record of the proceedings submitted herewith, constitutes the Magistrate Judge’s

Report and Recommendation concerning the plea of guilty proffered by the defendant.

       1.     On September 8, 2011, the defendant, accompanied by counsel,

              proffered a plea of guilty to count 1 of the indictment based upon the drug

              quantities set forth in the plea agreement, that is, at least 60 grams but

              less than 80 grams of heroin. The Government agrees to move the Court
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           to dismiss counts 81, 85, 90, 94, and 96 of the indictment at the time of

           sentencing.

     2.    Prior to such proffer, the defendant was examined as to his competency,

           advised of the charge and consequences of conviction, informed that the

           Federal Sentencing Guidelines are advisory and the Court must consider

           them but the Court may impose any reasonable sentence authorized by

           law, notified of his rights, advised that he was waiving all his rights except

           the right to counsel and otherwise was provided with the information

           prescribed in Fed. R. Crim. P. 11.

     3.    The parties and counsel informed the court about the plea agreement and

           addendum between the parties; the undersigned was advised that, aside

           from such agreement and addendum as described or submitted to the

           court, no other commitments or promises have been made by any party,

           and no other agreements, written or unwritten, have been made between

           the parties.

     4.    The undersigned questioned the defendant under oath about the knowing,

           intelligent, and voluntary nature of the plea of guilty, and finds that the

           defendant was competent to enter a plea and the plea was offered

           knowingly, intelligently, and voluntarily.

     5.    The parties provided the undersigned with sufficient information about the

           charged offense(s) and the defendant’s conduct to establish a factual

           basis for the plea.

     In light of the foregoing and the record submitted herewith, the undersigned finds

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that the defendant’s plea was knowing, intelligent, and voluntary, and all requirements

imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.

Therefore, the undersigned recommends that the plea of guilty be accepted and a

finding of guilty be entered by the Court.



                                             s/ Nancy A. Vecchiarelli
                                             NANCY A. VECCHIARELLI
                                             UNITED STATES MAGISTRATE JUDGE



DATE: September 8, 2011



                                      OBJECTIONS

      Any objections to this Report and Recommendation must be filed with the
Clerk of Courts within fourteen (14) days after being served with a copy of this
Report and Recommendation. Failure to file objections within the specified time
may waive the right to appeal the District Court’s order. See United States v.
Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985),
reh’g denied, 474 U.S. 1111 (1986).




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